                                            Case 4:21-mj-03400-N/A Document
                                                               CRIMINAL     1 Filed 12/09/21 Page 1 of 1
                                                                        COMPLAINT
                                                                         (Electronically Submitted)
                                                                                                       DISTRICT of ARIZONA
                              United States District Court
                                          United States of America                                     DOCKET NO.

                                                     v.                                                MAGISTRATE'S CASE NO.
                                           Eric Lawrence Moreno
                                        DOB: 1980; United States Citizen                                       21-03400MJ

                                                    Complaint for violation of Title 18, United States Code, Section 922(g)(1)

      COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

      On or about December 9, 2021, in the District of Arizona, Eric Lawrence Moreno, knowingly having been previously
      convicted of a crime punishable by imprisonment for a term exceeding one year, did knowingly possess a firearm , that
      is, a Smith & Wesson model SD40VE .40 caliber pistol; said firearm being in and affecting commerce in that it was
      previously transported into the state of Arizona from another state or foreign country; in violation of Title 18, United
      States Code, Section 922(g)(1) and 924(a)(2).


      BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

      On June 26, 2008, Eric Lawrence MORENO was convicted of Aggravated Assault with a Deadly Weapon /Dangerous
      Instrument, a class three felony punishable by imprisonment for a term exceeding one year, in Pima County Superior
      Court, Arizona, Case Number CR20074698. MORENO was sentenced to 3.5 years imprisonment.

      On December 9, 2021, Special Agents from Homeland Security Investigations and the Bureau of Alcohol, Tobacco,
      Firearms and Explosives executed a federal search warrant at MORENO’s residence in Tucson, Arizona. MORENO
      was the sole occupant of the residence. Agents discovered a Smith & Wesson model SD40VE .40 caliber pistol on a
      speaker box that appeared to be used as a nightstand in the bedroom used by MORENO. After being advised of and
      waiving his Miranda rights, MORENO stated to agents that he is a convicted felon and is aware he is not permitted to
      possess firearms. He admitted to possessing the firearm found in his residence. An ATF interstate nexus expert
      determined that the firearm was not manufactured in the state of Arizona, and thus traveled in interstate and/ or foreign
      commerce.




      MATERIAL WITNESSES IN RELATION TO THE CHARGE: N/A
      DETENTION REQUESTED                                                                              SIGNATURE OF COMPLAINANT

        Being duly sworn, I declare that the foregoing is
        true and correct to the best of my knowledge.

                                                                                                       OFFICIAL TITLE
                                                                                                       HSI Special Agent Paul V. Bradley
      AUTHORIZED AUSA Angela W. Woolridge
         Sworn by telephone _x__
      SIGNATURE OF MAGISTRATE JUDGE1)                                                                  DATE
                                                                                                       December 9, 2021

1)
     See Federal rules of Criminal Procedure Rules 3, 4.1, and 54
